Case 8-19-73115-reg   Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21
Case 8-19-73115-reg   Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21
Case 8-19-73115-reg   Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21
Case 8-19-73115-reg   Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21
Case 8-19-73115-reg   Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21
Case 8-19-73115-reg   Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21
Case 8-19-73115-reg   Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21
Case 8-19-73115-reg   Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21
Case 8-19-73115-reg   Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21
             Case 8-19-73115-reg         Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21


Ace Endico Food SVC                                      Verizon
80 International Blvd                                    PO Box 15124
Brewster, NY 10509                                       Albany, NY 12212

American Express National Bank                           Ammirati Coffee
PO Box 30384                                             500 Fith Avenue
Salt Lake City, UT 84130                                 Pelham, NY 10803

Best Metropolitan Towel & Linen                          Clare Rose
60 Madison Avenue                                        100 Rose Executive B
Hempstead, NY 11550                                      East Yaphank, NY

Ecolab                                                   Union Beer Distributors
PO Box 32027                                             1213-17 Grand Street
New York,. NY 10087                                      Brooklyn, NY 11211

Chase                                                    Skurnik Wines
PO Box 6294                                              PO Box 1315
Carol Stream, IL 60197                                   Syosset, NY 11791

Manhattan Beer Distribution                              NYS Dept of Tax & Finance
PO Box 27458                                             PO Box 4127
New York, NY 10087                                       Binghamton, NY 13902

NCR Corporation                                          Tri State Carbonation
PO Box 198755                                            216 E. Broadway #2
Atlantia, GA 30384                                       Monticello, NY 12701

Southern Glazer's Wine & Spirits of NY                   Sysco Long Island, LLC
PO Box 3143                                              199 Lowel Ave
Hicksville, NY 11802                                     Central Islip, NY 11722

Empire Merchant, LLC                                     NUCO2 LLC
16 Bridgewater Street                                    PO Box 417902
Brooklyn, NY 11222                                       Boston, MA 02241

St. Johns Produce                                        Open Table
PO Box 34                                                1 Montgomery Street, Suite 700
Albertson, BY 11507                                      San Francisco, CA 94104

NewBank                                                  HotSchedules
146-01 Northern Blvd                                     6504 Bridge Point Pkwy
Flushing, NY 11354                                       Austin, TX, 78730

Cord Meyer Development LLC                               ConEdison
111-15 Queens Blvd, PO Box 10                            Jaf Station, P.O. Box 1702
Forest Hills, NY 11375                                   New York, NY 10116

US Foods, Inc.                                           Cintas Corporation
P.O. Box 641871                                          PO Box 630803
Pittsburgh, PA 15264-1871                                Cincinnati, OH 45263
              Case 8-19-73115-reg      Doc 1   Filed 03/21/19   Entered 03/21/19 09:43:21


Rivkin Radler                                          Torn Cat Bakery
926 RXR Plaza                                          43-05 10th Street
Uniondale, NY 11556-0926                               Long Island City, NY 11101

Noble Management Group                                 TopShelf
228 Park Avenue, South #48897                          1229 Old Walt Whitman Road
New York, NY 10003                                     Melville, NY 11747
Quality Star Development                               Euro Stone NY
228 Park Avenue, South #48897
                                                       4800 Astoria Blvd S
New York, NY 10003
                                                       Astoria, NY 11103
Steve Menexas
301 Vanderbilt Parkway                                 Seoul Glass Interiors
Dix Hills, NY 11746                                    9428 Northern Blvd
                                                       Flushing, NY 11372
Giorgios Menexas
4 Elm Sea Lane                                         Firernasters
Manhasset, NY 11030                                    506 1Oth A venue
                                                       East Northport, NY 11731
Office of the United States Trustee
Eastern District of NY (Brooklyn Office)               Anheuser Busch
U.S. Federal Office Building                           550 Food Center Drive
201 Varick Street, Suite 1006                          Bronx NY 10474
New York, NY 10014-9449
                                                       Meat without Feet LLC
JA Mechanical Plumbing and Heating Inc
                                                       800 Food Center Dr
24-63 46th Street                                      Bronx NY 10474
Astoria, NY 11103
                                                       Coca-Cola
25-26 30 Avenue, LLC
        th                                             1 Coca Cola Plz
25-26 30th Avenue                                      NW Atlanta GA 30313
Astoria, NY 11102

Aphrodite's-Mylos Baking
981 Fort Salonga Road
Northport, NY 11768

Vias Imports Ltd.
875 Sixth Ave, Suite 2200
New York, NY 10001

Imperial Bag & Paper Co LLC
255 Route 1 and 9
Jersey City, NY 07306

DJ Fish
32 Tall Tulip Lane
Yonkers, NY 10710
